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 2
                              UNITED STATES DISTRICT COURT
 3
                                 EASTERN DISTRICT OF CALIFORNIA
 4

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 6    UNITED STATES OF AMERICA,                        Case No. 1:11-CR-00354-LJO
 7                            Plaintiff,
 8                                                     MEMORANDUM ORDER DENYING
             v.                                        PETITIONER’S REQUEST FOR
 9                                                     SENTENCE REDUCTION
      JESUS RAMON SERRANO,
10
                              Defendant.               (Doc. 616)
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12
            Defendant Jesus Ramon Serrano (“Serrano” or “Petitioner”) is a federal prisoner proceeding
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     pro se in this “Motion for Sentence Relief Under the Federal Prison Bureau Non-Violent Offender
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     Relief Act of 2003,” (“Relief Act”) filed September 14, 2015. Doc. 616. The government filed its
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     Opposition on September 17, 2015. Doc. 617.
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            Petitioner asks the Court to reduce his sentence pursuant to the Relief Act, H.R. 3575, 108th
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     Cong. (2003-04), which Petitioner asserts has amended 18 U.S.C. § 3624 by adding a subsection (g)
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     to permit the early release of certain non-violent offenders. Id. However, while bills have been
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     introduced to so amend 18 U.S.C. § 3624, see, e.g., H.R. 71, 114th Cong (2015-16), Congress has
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     not yet enacted any such legislation. See 18 U.S.C. § 3624.
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            Petitioner raises no other grounds for relief. Therefore, his request for a sentence reduction is
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     DENIED.
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     IT IS SO ORDERED.
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        Dated:     September 25, 2015                       /s/ Lawrence J. O’Neill
25                                                     UNITED STATES DISTRICT JUDGE
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